                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN



UNITED STATES OF AMERICA,

                   Plaintiff,

      vs.                                           Case No. 2:21-mj-00458

DENIS LEONEL RODRIGUEZ OYUELA,

                   Defendant.


                MOTION TO REOPEN BOND HEARING AND
                     SET CONDITIONS OF RELEASE

      Denis Leonel Rodriguez Oyuela respectfully moves this Court to reopen his

bond hearing pursuant to 18 U.S.C. § 3142(f), and requests an order releasing him

on appropriate conditions pending resolution of this case.

      Mr. Rodriguez Oyuela was arrested on August 11, 2021 based on a criminal

complaint alleging he was involved in a conspiracy to commit fraud in foreign

labor contracting, in violation of 18 U.S.C. §§ 371 and 1351(a); a forced labor

conspiracy, in violation of 18 U.S.C. § 1594(b); and a conspiracy to bring in and

harbor certain noncitizens for financial gain, in violation of 8 U.S.C.

§§ 1324(a)(1)(A)(iii)-(iv), (v)(I)-(II), (B)(i). Mr. Rodriguez Oyuela had his initial

appearance before this Court that same day, and asked for a detention hearing to

be set at a later date. The Court scheduled a detention hearing two days later, on
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August 13, 2021. At that detention hearing, the defense did not request Mr.

Rodriguez Oyuela’s release. Defense counsel indicated to the Court that they were

working with Mr. Rodriguez Oyuela to develop a release plan that would serve

the dual goals of reasonably assuring Mr. Rodriguez Oyuela’s appearance in court

and the safety of the community. The defense reserved Mr. Rodriguez Oyuela’s

right to move this Court for a new bond hearing under 18 U.S.C. § 3142(f) once

such plan was developed. Mr. Rodriguez Oyuela now has a fully developed

release plan and respectfully requests this Court reopen his bond hearing.

      The Court may reopen a detention hearing at any time before trial if it finds

that “information exists that was not known to the movant at the time of the

hearing and that has a material bearing on the issue whether there are conditions

of release that will reasonably assure the appearance of such person as required

and the safety of any other person and the community.” 18 U.S.C. § 3142(f).

      Here, Mr. Rodriguez Oyuela was unable to reach his friends in the area prior

to his initial detention hearing because his phone was seized following his arrest,

and he did not know any phone numbers by memory. It therefore took defense

counsel some time to track down Mr. Rodriguez Oyuela’s friends in the area to

find a stable place for him to stay and to develop a workable release plan. Counsel

has now done so and Mr. Oyuela Rodriguez moves to reopen his detention hearing



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so the Court may make a detention determination with his new information in

mind.

                                     Social History

        Before turning to Mr. Rodriguez Oyuela’s release plan, however, it’s worth

briefly reviewing his social history. Mr. Rodriguez Oyuela was born and raised in

Honduras. He reports that he attended school up until the age of thirteen, when

he was forced to drop out because his parents could no longer afford to send him.

Mr. Rodriguez Oyuela then, still a child, began working to help support his family.

He has been working ever since.

        Mr. Rodriguez Oyuela reports that he eventually opened his own

barbershop in Honduras in about 2018. However, he was forced to close his shop

after he received threats from the violent MS-13 and 18th Street gangs, who began

trying to extort him. He took these threats seriously because his family had

experienced the consequences of defying these gangs first-hand in the past; these

very same gangs had burned down his sister’s business a few years prior.

        Following the extortion attempts, Mr. Rodriguez Oyuela had trouble

finding stable work, and he continued to live in fear of further gang violence. But

relief finally came when he learned of the opportunity to apply for a visa to work

in the U.S. While here on his visa, Mr. Rodriguez Oyuela worked grueling hours,

sometimes as long as 18 hours a day, seven days a week, all to support his family.

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      But the fear of returning to Honduras loomed over Mr. Rodriguez Oyuela,

so he began exploring his options. He reports that he explored the possibility of

seeking asylum in Canada last year. More recently, he had reached out to an

immigration attorney to learn more about seeking asylum in the U.S. And such a

request wouldn’t be without precedent – Mr. Rodriguez Oyuela’s sister won

asylum a few years ago.

                                    Release Plan

      Mr. Rodriguez Oyuela is a family man with no criminal history. The charges

alleged against him here, while serious, are not violent. There is no indication that

he poses any danger to the community. The only real question, then, is whether

there are any conditions of release that can reasonably assure his appearance in

court. There are.

      Mr. Rodriguez Oyuela’s friend Emilio Huerta, a local business owner, has

indicated that Mr. Rodriguez Oyuela is welcome to stay in his home. Mr. Huerta

owns a single-family home located at 225 S. 2nd Street, Delevan, WI 53115, where

he has lived for the past eight years with his three minor children. Mr. Huerta is

committed to helping his friend stay on track, and is willing to accommodate any

conditions this court may impose.

      Mr. Rodriguez Oyuela submits that the following conditions would

reasonably assure both the safety of the community and his presence in court:

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   • electronic monitoring with a curfew as deemed appropriate by Pretrial

      Services;

   • maintain contact with PTS;

   • no contact with the alleged victims;

   • no possession of any dangerous weapons;

   • surrender of his passport to the Court.

   Mr. Rodriguez Oyuela is also amenable to any other conditions the Court may

deem necessary to secure release under § 3142.

      Dated at Milwaukee, Wisconsin this 24th day of August, 2021

                                     Respectfully submitted,

                                     / s / Dennise Moreno
                                     Dennise Moreno, NY Bar # 5797154
                                     FEDERAL DEFENDER SERVICES
                                       OF WISCONSIN, INC.
                                     517 E. Wisconsin Avenue - Rm 182
                                     Milwaukee, WI 53202
                                     Tel. (414) 221-9900

                                     /s/ John W. Campion
                                     John W. Campion, WI Bar #102697
                                     FEDERAL DEFENDER SERVICES
                                       OF WISCONSIN, INC.
                                     517 E. Wisconsin Avenue - Rm 182
                                     Milwaukee, WI 53202
                                     Tel. (414) 221-9900
                                     E-mail: john_campion@fd.org

                                     Counsel for Defendant,       Denis        Leonel
                                     Rodriguez Oyuela

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